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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 SHENZHEN RUICHENXI
 TECHNOLOGY CO., LTD.,

                        Plaintiff,

                v.                                      Civil Action No. 1:24-cv-08709
                                                           Hon. Mary M. Rowland
 THE PARTNERSHIPS and
 UNINCORPORATED ASSOCIATIONS                            JURY TRIAL DEMANDED
 IDENTIFIED ON SCHEDULE “A”

                        Defendant.



       NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO RULE 41(a)(1)(A)(i)

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Shenzhen Ruichenxi Technology Co.,

Ltd. (“Ruichenxi” or “Plaintiff”), by and through its undersigned counsel, hereby voluntarily

dismisses this action WITHOUT PREJUDICE as to the following Defendants:

 No.     Defendant Name                        No.       Defendant Name
 14      FengHao1208                           28        QuikleZee
 No.     Online Marketplaces/Store ID          No.       Online Marketplaces/Store ID
 14      AVV7BPWNFOLL6                         28        A3AW2HGBTK1PYD

 No.     Defendant Name                        No.       Defendant Name
 41      zuylikxy                              49        dealdazzledepot
 No.     Online Marketplaces/Store ID          No.       Online Marketplaces/Store ID
 41      A2ZFF498CAMYQO                        49        2399439713

 No.     Defendant Name
 56      mikva.il.ytkroh6
 No.     Online Marketplaces/Store ID
 56      1578036133




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       Prior to the filing of this notice, Defendants have yet to file an answer or motion for

summary judgment.



DATED October 24, 2024.                                       Respectfully submitted,

                                                              By: /s/ Tong Jin
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                                                              Dallas, TX 75231
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                                                              Counsel for Plaintiff


                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 24, 2024, I electronically filed the foregoing document
with the clerk of the court for the U.S. District Court for the Northern District of Illinois, Eastern
Division, using the electronic case filing system of the court. The electronic case filing system
sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
accept this Notice as service of this document by electronic means.


                                               /s/ Tong Jin
                                               Tong Jin




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